









Dismissed and Opinion filed December 12, 2002









Dismissed and Opinion filed December 12, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01098-CR

____________

&nbsp;

MARK
O. BURKETT, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 230th District Court

Harris
County, Texas

Trial
Court Cause No. 913,365

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant pled guilty to the offense of theft on October 2,
2002.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant to&nbsp; six months
confinement in a state jail facility.&nbsp;
Because we have no jurisdiction over this appeal, we dismiss.&nbsp; 








To invoke an appellate court=s jurisdiction over an appeal, an
appellant must give timely and proper notice of appeal.&nbsp; White v. State, 61
S.W.3d 424, 428 (Tex. Crim. App. 2001).&nbsp; Appellant filed a timely general notice of
appeal that did not comply with the requirements of Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure.&nbsp; See Tex.
R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3) provides that when an appeal
is from a judgment rendered on a defendant=s plea of guilty or nolo contendere and the
punishment assessed does not exceed the punishment recommended by the State and
agreed to by the defendant, the notice of appeal must:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; The time for filing a proper notice of appeal
has expired; thus appellant may not file an amended notice of appeal to correct
jurisdictional defects.&nbsp; State v. Riewe, 13 S.W.3d 408,
413-14 (Tex. Crim. App. 2000).&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are
without jurisdiction to consider any of appellant=s issues, including the voluntariness of the plea.&nbsp;
See Cooper v. State, 45 S.W.2d 77, 83 (Tex. Crim.
App. 2001) (holding that appellant who files general notice of appeal may not
appeal voluntariness of negotiated plea).&nbsp; 

Accordingly, we dismiss the appeal for want of
jurisdiction.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Opinion
filed December 12, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R. App. P. 47.3(b).

&nbsp;





